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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS
FAYETTEVILLE DIVISION

CANDACE WEST PLAINTIFF

V. CASE NO. 5:20-CV-5129

GARY MCCLELLAND DEFENDANT
ORDER OF DISMISSAL

IT APPEARING to the Court that the matter has been settled, counsel for all parties
having so advised the Court, it is ORDERED that the case be, and it is hereby,
DISMISSED WITH PREJUDICE, subject to the terms of the settlement agreement.

If any party desires to make the terms of settlement a part of the record herein,
those terms should be reduced to writing and filed with the Court within thirty (30) days
from the file date of this Order.

The Court retains jurisdiction to vacate this Order and to reopen the action upon
cause shown that settlement has not been completed and that a party wishes this Court
to enforce the settlement agreement specifically.

The case management hearing set for October 1, 2020 is TERMINATED.

  
 
 
 

IT IS SO ORDERED on this 25th day of Septem

 

   

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OTAY L. BROOKS
UNITED DISTRICT JUDGE
